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 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   2300 Tulare Street, Suite 230
     Fresno, California 93721
 3   Telephone: (559) 237-6000
 4   Attorney for Defendant, ISRAEL CAVAZOS
 5
 6                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7                        EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )              CASE NO. 1:07-CR-00192-AWI
                                 )
10        Plaintiff,             )
                                 )              STIPULATION AND
11      v.                       )              ORDER TO
                                 )              CONTINUE STATUS CONFERENCE
12   ISRAEL CAVAZOS,             )
                                 )
13         Defendant.            )
     ____________________________)
14
          The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the status conference for Israel Cavazos, presently calendared for
16
     November 22, 2010, be continued to November 29, 2010 at 9:00 a.m., as defense
17
     counsel is involved in a lengthy juvenile adjudication. Due to preparation time,
18
     defense counsel has been unable to conclude negotiations with the prosecutor.
19
          The parties also agree that any delay resulting from this continuance shall
20
     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(A).
21
22
     DATED: November 18, 2010           /s/ Kathleen Servatius      __
23                                      KATHLEEN SERVATIUS
                                        Assistant United States Attorney
24                                      This was agreed to by Ms. Servatius
                                        via email on November 17, 2010
25
26   DATED: November 18, 2010           /s/ Roger K. Litman    __
                                        ROGER K. LITMAN
27                                      Attorney for Defendant
                                        ISRAEL CAVAZOS
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                                            1
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 1   DATED: November 18, 2010          /s/ Salvatore Sciandra __
                                       SALVATORE SCIANDRA
 2                                     Attorney for Defendant
                                       JONATHAN M. CHAPMAN
 3                                     This was agreed to by Mr. Sciandra
                                       in person on November 18, 2010
 4
     DATED: November 18, 2010          /s/ W. Scott Quinlan
 5                                     W. SCOTT QUINLAN
                                       Attorney for Defendant
 6                                     JOHN WAYNE WYATT
                                       This was agreed to by Mr. Quinlan
 7                                     via telephone on November 18, 2010
 8
                                        ORDER
 9
     IT IS SO ORDERED.
10
11   Dated:   November 18, 2010
     0m8i78                                 CHIEF UNITED STATES DISTRICT JUDGE
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